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  DOWD, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

  United States of America,                        )
                                                   )     CASE NO. 5:06 CR 239
                 Plaintiff,                        )
                                                   )
         v.                                        )     ORDER
                                                   )
  Delores Borquez Willis,                          )
                                                   )
                 Defendant.                        )
                                                   )

         The sentencing of defendant is scheduled for February 27, 2008. The sentencing hearing

  will be conducted against the backdrop of recent decisions by the United States Court of Appeals

  for the Sixth Circuit in U.S. v. Vowell, – F.3d – , 2008 WL 220430 (6th Cir. 2008)(decided

  January 29, 2008), and the subsequent en banc decision in U.S. v. Vonner, – F.3d –, 2008 WL

  320773 (6th Cir. 2008)(decided February 7, 2008).

         The Vowell decision once again indicates that district courts must give adequate notice of

  an intention to either depart or vary. The obvious difficulty of advance notice with respect to

  variance is the fact that the Court has not had the benefit of any argument from either the

  government or the defendants as to why it should vary from the calculated advisory guidelines.

         The en banc decision in Vonner consists of the decision by Judge Sutton and dissents by

  Judge Martin, Judge Clay and Judge Moore. The dispute in the en banc decision is whether the

  district court adequately explained his sentencing decision, which was within the advisory

  guidelines. In his eloquent dissent, Judge Martin makes it clear that the district court should not

  be bound by the advisory guideline calculation, but may decide to sentence above, below or
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  within the guideline calculation after considering the commentary from the parties with respect

  to an appropriate sentence.

         As the Court does not have sentencing memorandum from counsel for the defendant, it is

  impossible to determine ahead of time whether the Court should consider a downward variance.

  Likewise, the Court does not have a sentencing memorandum from the government suggesting

  an upward variance. Finally, there may be disputes as to the calculation of the advisory

  guideline which would then arguably make relevant a claim for either an upward or downward

  variance.

         Against that background, the Court hereby puts the parties on notice that at the

  sentencing hearing, after determining the advisory guideline range and considering in advance

  the arguments by counsel for either an upward or downward variance, the Court may consider a

  downward variance if it concludes that the lowest sentence on the advisory guideline calculation

  is too harsh, or alternatively, may consider an upward variance if it determines that the highest

  sentence under the guideline range as calculated is too lenient.

         Counsel may, but are not required to, file sentencing memorandum. Memorandum

  should be filed at least seven (7) days before the sentencing hearing.

         IT IS SO ORDERED.


   February 13, 2008                              S/ David D. Dowd, Jr.
  Date                                          David D. Dowd, Jr.
                                                U.S. District Judge




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